                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

    SYLVESTER ALLEN, JR.; DEJUANA
    BIGELOW; TABATHA DAVIS; FUTURE
    ALAMANCE; OLIVIA DAVIS; TALAUN
    WOODS; and ANGELA WILLIS,

                 Plaintiffs,                                   1:20-cv-0997
    v.                                                 FIRST AMENDED COMPLAINT 1

    CITY OF GRAHAM; MARY KRISTINE
    (“KRISTY”) COLE, individually and in her
    official capacity as Chief of the Graham Police
    Department;       ALAMANCE           COUNTY;
    TERRY A. JOHNSON, individually and in his
    official capacity as Sheriff of Alamance
    County; JOAQUIN VELEZ, individually and
    in his official capacity as Lieutenant of the
    Patrol Division of the Graham Police
    Department; GRAHAM POLICE OFFICERS
    JOHN and JANE DOES #1-15; and
    ALAMANCE              COUNTY          DEPUTY
    SHERIFFS JOHN and JANE DOES #16-30,

                  Defendants.




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 This First Amended Complaint is being filed upon consent from Defendants in Allen, et al. v.
City of Graham, et al., 20 Civ. 997, pursuant to Fed. R. Civ. P. 15(a)(2).




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JUSTICE FOR THE NEXT GENERATION;
ALAMANCE ALLIANCE FOR JUSTICE;
GREGORY DRUMWRIGHT; EDITH ANN
JONES; QUENCLYN ELLISON, M.E., by
and through her guardian Quenclyn Ellison;
Z.P., by and through his guardian Quenclyn
Ellison;   FAITH     COOK;       MELANIE
MITCHELL, J.A., by and through her
guardian Melanie Mitchell; B.A., by and              1:20-cv-00998
through her guardian Melanie Mitchell;
JANET NESBITT; ERNESTINE LEWIS
WARD; EDITH WARD; AVERY HARVEY;
and ASHLEY REED BATTEN,

            Plaintiffs,

               v.

 TERRY JOHNSON, individually and in his
 official capacity as Alamance County Sheriff;
 CLIFF PARKER, individually and in his
 official capacity as Alamance County Chief
 Deputy Sheriff; JONATHAN FRANKS, in
 his individual capacity and in his official
 capacity as consultant to the Alamance
 County Sheriff and Graham Police Chief;
 ALAMANCE            COUNTY       SHERIFF’S
 DEPUTIES JOHN AND JANE DOES #1
 through #20, in their individual capacities;
 MARY KRISTY COLE, individually and in
 her official capacity as Graham City Chief of
 Police; JOAQUIN VELEZ, individually and
 in his official capacity as Graham Police
 Lieutenant; CITY OF GRAHAM; and
 GRAHAM POLICE OFFICERS JOHN AND
 JANE DOES #21 through #40, in their
 individual capacities,

              Defendants.




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       Plaintiffs Sylvester Allen, Jr., Dejuana Bigelow, Tabatha Davis, Future Alamance,

Olivia Davis, Talaun Woods, and Angela Willis, by and through counsel, file this First

Amended Complaint against Defendants City of Graham, Mary Kristine (“Kristy”) Cole,

individually and in her official capacity as Chief of the Graham Police Department,

Alamance County, Terry S. Johnson, individually and in his official capacity as Alamance

County Sheriff, Joaquin Velez, individually and in his official capacity as Lieutenant of

the Patrol Division of the Graham Police Department, John and Jane Does #1-15, all

presently unknown officers of the Graham Police Department, and John and Jane Does

#16-30, all presently unknown officers of the Alamance County Sheriff’s Office.

                                    INTRODUCTION

       The right to vote and to do so free from violence, retribution, or intimidation from

private actors or the government is one of the most sacred guarantees of a constitutional

democracy. Indeed, “[o]ther rights, even the most basic, are illusory if the right to vote is

undermined.” N.C. State Conf. of NAACP v. McCrory, 831 F.3d 204, 241 (4th Cir. 2016).

Yet, as courts have recognized, “[v]oter intimidation presents an ongoing threat to the

participation of minority individuals in the political process[.]” Democratic Nat’l Comm.

v. Republican Nat’l Comm., 671 F. Supp. 2d 575, 578-79 (D.N.J. 2009), aff’d 673 F.3d 192

(3d Cir. 2012), cert. denied 133 S. Ct. 1471 (2013).

       On October 31, 2020—North Carolina’s last day of early voting and voter

registration for the 2020 general election—the Graham Police Department (“GPD”) and

the Alamance County Sheriff’s Office (“ACSO”) ran afoul of these constitutional



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commands. Plaintiffs attempted to exercise their right to vote and assemble by participating

in “I Am Change, Legacy March to the Polls,” a march to the polls in the city of Graham

in Alamance County, North Carolina, focused on social justice and political participation

(the “March”). Defendants responded by firing pepper spray indiscriminately into the

crowd of peaceful marchers, which included children as young as three years old, elderly

individuals, and individuals with disabilities, on at least three occasions. As pepper spray

filled the air, the protesters were forced to disperse; many suffered trouble breathing,

vomiting, and other complications—some for days after the March.

       Plaintiffs participated in the March, attempting to exercise their rights to protest.

Three of the individual Plaintiffs and at least one member of Plaintiff Future Alamance

also intended to vote at the end of the March. For that, GPD and ACSO subjected them to

unwarranted and violent levels of force that caused all Plaintiffs to cease protesting and

prevented those who had intended to vote that day from exercising their right to do so.

       For example, Defendants pepper sprayed Plaintiff Dejuana Bigelow and her three-

year-old child, both of whom are Black people, at the March, causing them to cough, have

difficulty breathing, and suffer from burning in their eyes. To protect her child from the

assault, Ms. Bigelow wrapped her child’s head in her jacket and retreated to her car, leaving

the March early. Plaintiff Olivia Davis, a Black nineteen-year-old, had intended to cast her

first-ever vote at the end of the March. Instead, Ms. Olivia Davis was pepper sprayed and,

while attempting to retreat from the police violence, was forcefully arrested by GPD

officers and issued an order not to return to the City of Graham—the location of the early



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voting site where she had intended to vote—for 72 hours. Plaintiff Talaun Woods, a Black

twenty-one-year old, had planned to register and cast his first-ever vote at the end of the

March, but was pepper sprayed twice before he was able to do so. Suffering from skin

irritation, a headache, and vomiting from the pepper spray, he was forced to go home

without registering to vote or voting. Because October 31, 2020 was the final day for voter

registration, Mr. Woods was denied the ability to vote in the 2020 general election at all.

       Through their conduct on the last day of voter registration and early voting in North

Carolina—just three days before the end of the 2020 general election—Defendants

prevented North Carolinians from peacefully protesting and from registering and casting

their vote free from intimidation, threats, harassment, or coercion.

                                        PARTIES

       1.     Plaintiff Dejuana Bigelow is a Black voter who resides in Graham, North

Carolina. She is registered to vote in Alamance County.

       2.     Plaintiff Sylvester Allen, Jr. is a Black voter with Native American lineage

who resides in Graham, North Carolina. He is registered to vote in Alamance County.

       3.     Plaintiff Tabatha Davis is a white voter who resides in Mebane, North

Carolina. She is registered to vote in Alamance County.

       4.     Plaintiff Future Alamance is a community organization formed in July 2020

and based in Alamance County. Its members include Black registered voters and other

voters in Alamance County. The organization’s work is focused on creating an inclusive

Alamance with equality for the entire community.



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       5.     Plaintiff Olivia Davis is a Black voter who resides in Burlington, North

Carolina. She is registered to vote in Alamance County.

       6.     Plaintiff Talaun Woods is a Black resident of Burlington, North Carolina. He

is eligible to vote in Alamance County but was unable to register to vote or vote in the 2020

general election due to Defendants’ conduct.

       7.     Plaintiff Angela Willis is a Black voter who resides in Burlington, North

Carolina. She is registered to vote in Alamance County.

       8.     Defendant Kristy Cole, sued individually and in her official capacity as

Graham Chief of Police, is domiciled in the state. In her capacity as Chief of Police for

GPD, Defendant Cole is responsible for the policy, practice, implementation, and

supervision, of all GPD matters, including the appointment, training, supervision, and

conduct of all GPD personnel. In addition, Defendant Cole is responsible for enforcing the

rules of the GPD and ensuring that GPD personnel obey the laws of the United States and

the State of North Carolina, including by conducting thorough and expeditious

investigations into officer misconduct.

       9.     At all relevant times, Defendant Cole was acting within the scope of her

employment and under color of state law.

       10.    Defendant Terry S. Johnson, sued individually and in his official capacity as

the Sheriff of Alamance County, is domiciled in the state. In his capacity as Sheriff of

Alamance County, Defendant Johnson is responsible for the policy, practice,

implementation, and supervision, of all ACSO matters, including the appointment,



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training, supervision, and conduct of all ACSO personnel. In addition, Defendant Johnson

is responsible for enforcing the rules of the ACSO and ensuring that ACSO personnel obey

the laws of the United States and the State of North Carolina, including by conducting

thorough and expeditious investigations into officer misconduct.

       11.    At all relevant times, Defendant Johnson was acting within the scope of his

employment and under color of state law.

       12.    Defendant City of Graham is a municipality organized and existing under the

laws of the State of North Carolina. Defendant City of Graham, acting through GPD and

Defendant Cole, is responsible for the policy, practice, supervision, and implementation of

all GPD matters, including the appointment, training, supervision, and conduct of all GPD

personnel. In addition, the City of Graham is responsible for ensuring that GPD personnel

obey the laws of the United States and the State of North Carolina.

       13.    Defendant Alamance County is organized and existing under the laws of the

State of North Carolina. Defendant Alamance County, acting through ACSO and

Defendant Johnson, is responsible for the policy, practice, supervision, and implementation

of all ACSO matters, including the appointment, training, supervision, and conduct of all

ACSO personnel. In addition, Alamance County is responsible for ensuring that ACSO

personnel obey the laws of the United States and the State of North Carolina.

       14.    Defendant Joaquin Velez, sued individually and in his official capacity as

Lieutenant of the Patrol Division of GPD, is domiciled in the state. In his capacity as

Lieutenant of the Patrol Division of GPD, Defendant Velez oversees all four patrol



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platoons within GPD. He is responsible for the policy, practice, implementation, and

supervision of all matters related to the GPD Patrol Division, the division responsible for

first response to the events of October 31, 2020. Defendant Velez is responsible for training

and supervising all GPD Patrol Division personnel, including by intervening in situations

to ensure that GPD personnel obey the laws of the United States and the State of North

Carolina. At all relevant times, Defendant Velez was acting within the scope of his

employment and under color of state law.

       15.    Defendants John and Jane Does #1–15, whose true names are unknown to

Plaintiffs and could not be discovered by Plaintiffs as of the date of the filing of this action,

are all officers, agents, and/or employees of GPD. They are sued individually and in their

official capacities as officers, agents, and/or employees of the City of Graham.

       16.    At all relevant times, Defendants John and Jane Does #1–15 were acting

within the scope of their employment as GPD officers.

       17.    Defendants John and Jane Does #16–30, whose true names are unknown to

Plaintiffs and could not be discovered by Plaintiffs as of the date of the filing of this action,

are all officers, agents, and/or employees of ACSO. They are sued individually and in their

official capacities as officers, agents, and/or employees of Alamance County.

       18.    At all relevant times, Defendants John and Jane Does #16-30 were acting

within the scope of their employment as ACSO deputy sheriffs.

                              JURISDICTION AND VENUE

       19.    Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1985(3), 52 U.S.C.



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§ 10307(b), N.C. Gen. Stat. § 1-253, North Carolina common law, and North Carolina

Constitution Article I, Sections 12 and 14.

       20.    This Court has subject matter jurisdiction over this action under 28 U.S.C.

§ 1331 because this action includes claims arising under federal law, and under 28 U.S.C.

§ 1343 because this action requests relief under statutes protecting the right to vote and

civil rights. This Court has pendent jurisdiction over the state law claims because the claims

“form part of the same case or controversy” as the federal action. 28 U.S.C. § 1367(a).

       21.    This Court has personal jurisdiction over Defendants as residents of North

Carolina.

       22.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claim occurred in this judicial

district, and under 28 U.S.C. § 1391(b)(1) because all Defendants reside within the State

of North Carolina and at least one Defendant resides in this judicial district.

       23.    This Court has the authority to provide the declaratory relief requested, and

any further relief that may be appropriate, pursuant to 28 U.S.C. §§ 2201 and 2202 and

N.C. Gen. Stat. § 1-253.




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                               STATEMENT OF FACTS

         A.    Alamance County and Its Police Forces Have a History of
               Discrimination and Interference with Political Participation by Black
               Citizens.

         24.   Plaintiffs’ experiences are only the latest in Alamance County’s long—and

violent—history of denying Black citizens and other people’s access to political and social

life.

         25.   In 1870, the Ku Klux Klan lynched Wyatt Outlaw, the first Black person

elected to serve in the municipal government of Graham. Mr. Outlaw was dragged from

his home and hanged from a tree in the courthouse square. Another Black man who

witnessed the lynching was found dead, drowned in a nearby pond.

         26.   In 1914, Graham erected the Alamance County Confederate Monument to

celebrate the soldiers who served in the Confederate Army at the site of the lynching of

Mr. Outlaw. On one side, the monument reads: “CONQUERED THEY CAN NEVER BE,

WHOSE SPIRITS AND SOULS ARE FREE.” 2 It remains standing to this day.

         27.   Upon information and belief, Defendants have in recent years devoted

resources to ensuring that the monument is protected, such as by deploying law

enforcement to the monument—including when protesters against police violence directed

at Black communities have demanded the monument’s removal.




2
 Alamance County Confederate Monument, Graham, Commemorative Landscapes - Univ. of N.
Carolina          Library       (last     accessed:   Dec.         12,        2020),
https://docsouth.unc.edu/commland/monument/10/.



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       28.    Upon information and belief, neo-confederate groups, such as Alamance

County Taking Back Alamance County (“ACTBAC”), have recently taken root in the

county, and engaged in armed demonstrations to defend the monument.

       29.    Alamance County’s policing systems are not immune from this history, as

the following exemplifies.

       30.    In 2010, the United States Department of Justice (“DOJ”) opened an

investigation into the ACSO for racially discriminatory policing. In 2012, DOJ determined

that ACSO engaged in a pattern of racially discriminatory policing that was “deeply rooted

in a culture that begins with Sheriff [Terry] Johnson and permeates the entire agency.” 3

       31.    Earlier this year, as protesters across the country took to the streets to demand

police accountability and racial justice in the wake of the high-profile killing of George

Floyd, GPD posted a message criticizing the purported “hypocrisy” of the Black Lives

Matter movement on its official Facebook page.

       32.    ACSO also has exhibited a pattern of engaging in discriminatory policing for

the purpose of suppressing minority votes—often by engaging in racial profiling.

       33.    Upon information and belief, in 2004, Defendant Johnson directed ACSO

deputies to visit the homes of approximately 100 newly-registered Hispanic voters in the

county, claiming without basis that he was concerned about voter fraud.




3
   Letter from United States Dep’t of Justice to Alamance Cnty. at 2 (Sept. 18, 2012),
https://www.justice.gov/iso/opa/resources/171201291812462488198.pdf.


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       34.      Upon information and belief, in 2017, ACSO arrested and charged 12

Alamance County residents—nine of whom were Black people—with illegally voting in

the 2016 general election. That year, Alamance County led the State in voter fraud

prosecutions.

       35.      Protesters who participated in the March, further described below, intended

to call attention to discriminatory policing and police violence, vote for change, and

encourage others to do so.

       B.       The Right to Vote Is Protected by Law.

       36.      The right to vote includes the right to be free from physical violence or threats

of physical violence in the exercise of the franchise. See, e.g., Paynes v. Lee, 377 F.2d 61,

64 (5th Cir. 1967) (“The protected right [to vote] includes the right to be free from bodily

injury in the exercise of the right of franchise.”) (citing Ex Parte Yarbrough, 110 U.S. 651,

662 (1884)); Katzenbach v. Original Knights of Ku Klux Klan, 250 F. Supp. 330, 334 (E.D.

La. 1965) (pattern of acts and threats of physical violence constituted intimidation of

voters’ attempt to exercise their civil rights).

       37.      The Civil Rights Act of 1871 provides for damages and equitable relief


                if two or more persons conspire to prevent by force, intimidation, or
                threat, any citizen who is lawfully entitled to vote, from giving his
                support or advocacy in a legal manner, toward or in favor of . . . an
                elector for President or Vice President, or as a Member of Congress
                of the United States; or to injure any citizen in person or property on
                account of such support or advocacy.
42 U.S.C. § 1985(3) (“Section 1985(3)”).
       38.      Section 1985(3) provides that an action will lie against the conspirators so


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long as “one or more persons engaged” in the conspiracy “do, or cause to be done, any act

in furtherance of the object of such conspiracy.” Id. Even as to those persons who do not

directly participate in those activities, Section 1985(3) makes it unlawful to conspire with

others to promote, organize, and otherwise facilitate those efforts.

       39.    The Voting Rights Act protects against intimidation in both elections and

registration efforts. Section 11(b) of the Voting Rights Act prohibits actual or attempted

“intimidation,” “threats,” or “coercion” against a person, either “for voting or attempting

to vote” or “for urging or aiding any person to vote or attempt to vote.” 52 U.S.C.

§ 10307(b).

       C.     Defendants’ Unlawful Actions Intimidated, Threatened and Physically
              Harmed Voters, Including Plaintiffs.

              1.     Defendants’ Intimidating Conduct

       40.    On October 31, 2020, Sylvester Allen, Jr., Dejuana Bigelow, Tabatha Davis,

Olivia Davis, Talaun Woods, and members of Future Alamance marched to the Elm Street

polling place as part of the March.

       41.    The March was intended to encourage “people to go to the polls and vote for

change.” 4 It began at Wayman’s Chapel AME Church and was scheduled to stop at Court

Square, near the Confederate monument, where participants would join in a rally

encouraging people to vote. At Court Square, organizers for the March were scheduled to




4
  The Times News, Local Activists to Hold Halloween March in Graham (Oct. 14, 2020),
https://www.thetimesnews.com/story/news/2020/10/14/activist-announces-i-am-change-march-
wednesday-press-conference/3658546001.


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give speeches from a small stage, for which they had received a permit.

       42.     March organizers planned for the March to ultimately culminate near the Elm

Street polling place, an early-voting site where some participants would vote in the 2020

general election.

       43.     The Elm Street polling place also served as a same-day voter registration site

that day.

       44.     The March was also intended to rally people in support of the Black Lives

Matter movement, which protests police violence against Black communities.

       45.     Particularly given the long history of racially discriminatory policing in

Alamance County, the March was meant to serve as a moment of political power for Black

communities.

       46.     Protesters gathered together at the church at approximately 11:00 A.M., then

walked from the church to Court Square.

       47.     A small number of police officers were present along the roadway during the

March.

       48.     All protesters remained orderly and calm during the March. There were no

arguments between protesters and any police officers.

       49.     When March attendees arrived at Court Square, dozens of officers, including

Defendants Velez and John and Jane Does #1-30, were already present and in formation.

       50.     The officers, including Defendants Velez and John and Jane Does #1-30,

were already wearing riot gear, gas masks, and face shields, and had pepper spray canisters



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drawn.

         51.   Clusters of neo-confederate or white supremacist counter-demonstrators had

been present at Court Square shortly before the March attendees arrived.

         52.   Just before the March attendees arrived at Court Square, the officers,

including Defendants Velez and John and Jane Does #1-30, had instructed the neo-

confederate or white supremacist counter-demonstrators to leave the area.

         53.   Based on the officers’ instructions, the neo-confederate and white

supremacist counter-demonstrators were able to leave the area.

         54.   Shortly after arriving at Court Square, the March attendees kneeled in a

moment of silence for 8 minutes and 46 seconds in remembrance of George Floyd,

representing the amount of time Minneapolis police officer Derek Chauvin pressed his

knee on Mr. Floyd’s neck, suffocating him to death, while other police officers stood by

and failed to intervene.

         55.   The March organizers had received a permit for this commemorative

kneeling.

         56.   Immediately after the remembrance, police officers ordered the nearly 200

protesters out of the streets and into other designated protest areas.

         57.   Some of the protesters, including some Plaintiffs, were unable to hear and/or

understand the officers’ commands.

         58.   Protesters, including some Plaintiffs, began to move out of the street, but

because the area was crowded, they were not able to immediately exit.



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         59.   Several protesters, including Ms. Bigelow and Mr. Allen, observed officers

on the scene communicating with each other.

         60.   Upon information and belief, the GPD police officers and ACSO deputies,

including Defendants John and Jane Does #1-30, were communicating with each other to

coordinate a plan for dispersing the crowd.

         61.   The GPD police officers and ACSO deputies, including Defendants John and

Jane Does #1-30, did not provide any warning that chemical irritants would be used to

Plaintiffs or other March attendees.

         62.   Upon information and belief, less than one minute after ordering protesters

to clear the street and move to other designated protest areas, officers, including

indiscriminately discharged pepper spray against the protesters, including children as

young as three years old, elderly individuals, and those with disabilities.

         63.   Upon information and belief, Defendants Velez and John Does #1-30 either

themselves discharged pepper spray at protesters, including Plaintiffs, or were aware of,

had the opportunity to prevent, and failed to prevent other officers from discharging pepper

spray.

         64.   Pursuant to the ACSO Policy & Procedure Manual promulgated by

Defendant Johnson, any use of a chemical agent must be promptly reported to senior

officials with the Sheriff’s Office, including Defendant Johnson.




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       65.    Also pursuant to the ACSO Policy & Procedure Manual, after receiving

notice that a chemical agent was used, Defendant Johnson must develop an “operational

plan” for continued response to the situation.

       66.    Upon information and belief, Defendant Johnson received notice after the

first time pepper spray was used on peaceful protesters.

       67.    Upon information and belief, the operational plan Defendant Johnson

developed after learning of the first use of pepper spray authorized deputies, including

Defendant Officers John and Jane Does #16-30, to use pepper spray again.

       68.    The protesters, including at least one Plaintiff, were able to move out of the

roadway and onto the public square by the Confederate Monument. Some protesters

gathered in the park area, and some gathered on the sidewalk across from the park.

       69.    The March organizers decided to continue with their planned and permitted

rally. Organizers for the March began speaking at a stage that was set up on the sidewalk,

using speakers that were plugged into a generator for which the organizers had received a

permit. Ms. Tabatha Davis, Ms. Olivia Davis, and Ms. Willis found spots near the stage.

Mr. Allen was on the stage.

       70.    Upon information and belief, while the March organizers were speaking to

protesters, GPD and ACSO officers—including Defendants Velez and John and Jane Does

#1-30—communicated with each other and decided to use pepper spray again.

       71.    After approximately 30 minutes, ACSO deputies and GPD officers came to

the stage and attempted to unplug the generator to end the rally without explanation.



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       72.    Less than a minute later, ACSO deputies and GPD officers began to unleash

pepper spray at the March attendees for the second time without explanation or warning.

       73.    Upon information and belief, Defendants Velez and John and Jane Does #1-

30 again either themselves discharged pepper spray at protesters, including Plaintiffs, or

were aware of, had the opportunity to prevent, and failed to prevent other officers from

discharging pepper spray.

       74.    The pepper spray began to blanket the area, forcing March attendees who

had planned on voting at the polling place about a block away—including Ms. Tabatha

Davis, Ms. Olivia Davis, and Mr. Woods—away from the area.

       75.    As March attendees, including Plaintiffs, attempted to clear out of the area

and disperse, officers continued to patrol the area, deploying pepper spray a third time at

individuals who were allegedly not moving fast enough to leave.

       76.    After being pepper sprayed, Ms. Tabatha Davis fled to protect herself.

Because the pepper spray began to immediately irritate her eyes and throat, Ms. Tabatha

Davis was forced to remove her eyeglasses and the face mask she was wearing to protect

herself from Novel Coronavirus-19 (“COVID-19”) infection.

       77.    Many others, including children, elderly persons, and handicapped members

of the crowd, also were forced to remove their protective face masks and leave the area

because of the pepper spray. In the resulting chaos, Ms. Tabatha Davis lost her glasses.

Because so many people were no longer wearing masks, she feared exposure to COVID-

19.



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       78.    On information and belief, many of the elderly March attendees had

respiratory problems. Some were carrying inhalers with them. The pepper spray caused

many of these elderly protesters to go into respiratory distress; some have had to seek

medical attention for the complications they have suffered.

       79.    GPD and ACSO officers prevented paramedics on the scene from

administering medical assistance to individuals who had been pepper sprayed.

       80.    Upon information and belief, Defendants Velez and John and Jane Does #1-

30 themselves blocked paramedics from administering aid.

       81.    A video 5 recorded by News and Observer, a Raleigh-based publication,

captured parts of the events. 6

       82.    The News & Observer video shows three GPD officers restraining an elderly

man and two GPD officers restraining a journalist with a camera. Moments later, two other

GPD officers attempt to remove the camera from the journalist..

       83.    The News & Observer video also shows protestors inform one GPD officer,

“You sprayed a kid.” The officer appears to respond “I did.”

       84.    Ms. Tabatha Davis, Ms. Olivia Davis, Mr. Woods, and at least one member

of Future Alamance had all planned to vote on October 31, 2020, following the March;



5
  Julia Wall, March to the Polls Event Mired by Pepper-Spray and Arrests, The News & Observer
(Oct.          31,         2020)          (“News          &         Observer         Video”),
https://www.newsobserver.com/news/local/article246870132.html.
6
  Zachary Eanes & Carli Brosseau, March to Alamance Polls Ends with Police Using Pepper-
Spray on Protesters, Children, The News & Observer (Oct. 31, 2020, updated Nov. 3, 2020)
https://www.newsobserver.com/news/local/article246861942.html.


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none were able to do so because of the violence Defendants directed at them and others.

       85.    Upon information and belief, Defendants’ violence prevented other

participants in the March to cast their votes on October 31, 2020.

       86.    This Saturday event occurred on the last day of early voting, leaving those

who were pepper sprayed with no choice but to vote in person on Election Day, Tuesday,

November 3, 2020—during the global pandemic 7 and regardless of what other weekday

obligations they may have had.

       87.    In addition, this event occurred on the last day of voter registration for the

2020 general election.

       88.     Individuals like Mr. Woods, who were planning to register to vote that day

but were unable to do so, were denied the right to vote in the 2020 general election

altogether.

       89.    Further, GPD and ACSO also arrested a number of March attendees,

including Ms. Olivia Davis, releasing them only if they agreed to leave Graham and not

return for 72 hours—until the late afternoon on Election Day, mere hours before the polls

closed.




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  Early voting was particularly important in the elections conducted during the ongoing COVID-
19 pandemic. As recommended by the Centers for Disease Control, a best practice for in-person
voting during the COVID-19 pandemic was the use of “early voting” to allow for effective social
distancing and to reduce the risk of crowds gathering in lines outside polling places as well as
inside polling places. See CDC, Coronavirus Disease 2019 (COVID-19): Considerations for
Election Polling Locations and Voters: Interim guidance to prevent spread of coronavirus disease
2019 (COVID-19), https://www.cdc.gov/coronavirus/2019-ncov/community/election-polling-
locations.html (last updated November 23, 2020).


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       90.    Further, Defendants’ discharge of pepper spray against individuals marching

to a polling place and seeking to exercise the right to vote intimidates North Carolina

voters, particularly Black voters, and is likely to deter individuals from voting.

       91.    Defendants sent a clear message to Black voters and others who speak out

against police violence directed at Black people, including Plaintiffs, that they may face

pepper spray or other violence when they vote or engage in peaceful assemblies.

       92.    Indeed, some marchers who were pepper sprayed may not have returned to

vote on Election Day.

       93.    Discharging pepper spray at peaceful protesters marching to a polling place

constitutes an attempt to intimidate, threaten, or coerce voters in a manner that prevents

them from exercising their constitutional right to vote.

       94.    Upon information and belief, Defendants’ use of pepper spray on March

attendees was motivated at least in part by the race of March attendees—the majority of

whom were Black, and all of whom were marching in support of the Black community.

       95.    By contrast, the neo-confederate or white supremacist groups that had

gathered at Court Square were warned to clear the area before any force was used.

       96.    At a subsequent press conference regarding the incident, a GPD

spokesperson—speaking on behalf of Defendant Cole and the City of Graham—defended

GPD officers’ conduct, including that of Defendants John and Jane Does #1-15. The GPD

spokesperson blamed March attendees and organizers for the violence.

       97.    Neither Defendant Cole, Defendant Velez, Defendant Johnson, nor any other



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senior official within GPD or ACSO has taken any public steps to investigate or discipline

any officer in connection with the use of pepper spray on peaceful protesters on October

31, 2020.

                2.     Effect of Intimidation on Plaintiffs

       98.      Upon information and belief, at least four voters were prevented from voting

in the 2020 general election on October 31, 2020 because of Defendants’ conduct. This

includes Ms. Tabatha Davis, Ms. Olivia Davis, Mr. Talaun Woods, and at least one member

of Future Alamance.

       99.      Plaintiff Sylvester Allen participated in the March. Mr. Allen is a resident of

Alamance County and had already voted in the 2020 general election. Mr. Allen

participated in the 8 minute and 46 second moment memorial for George Floyd.

       100.     Within seconds of the memorial ending, Mr. Allen heard and saw law

enforcement pepper spraying March participants. Mr. Allen was indirectly hit by the

pepper spray.

       101.     Later, Mr. Allen was on the stage set up for the March’s speakers. He saw

police trying to take the generator that was powering the sound equipment for the March.

       102.     Within moments, law enforcement surrounded the stage and began to unleash

pepper spray at protesters again. Law enforcement pepper sprayed Mr. Allen in the face.

The pepper spray caused a burning sensation in and around Mr. Allen’s eyes that continued

for 20 minutes, and in his throat. For days after the assault, Mr. Allen continued to have

irritation in his throat.



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       103.   Plaintiff Dejuana Bigelow participated in the March. Ms. Bigelow is a

resident of Alamance County and had already voted in the 2020 general election.

       104.   Ms. Bigelow brought her three-year-old daughter to Court Square to join the

peaceful protest. About fifteen seconds after the memorial to George Floyd ended, she

heard Graham police officers begin to say “Time is up. Everybody move. Move. Move.

Move.”

       105.   No more than 20 seconds later, she began to see that officers were

discharging pepper spray into the crowd. The pepper spray hit herself and her toddler; they

both began coughing.

       106.   It was difficult for them to breathe and Ms. Bigelow’s eyes were burning.

She took her daughter’s jacket off and used it to cover her daughter’s face. She looked up

and saw white smoke from the police conduct and fled to her car with her daughter.

       107.   Plaintiff Tabatha Davis participated in the March. She had planned to vote at

the Elm Street polling site to which the March was headed.

       108.   Once the March arrived at Court Square, Ms. Tabatha Davis participated in

the memorial protest in honor of George Floyd, kneeling for 8 minutes and 46 seconds.

Almost immediately afterwards, Ms. Tabatha Davis heard officers instruct the marchers to

leave. Just seconds later, she saw officers discharge pepper spray into the crowd and soon

began to feel the effect of the spray.

       109.   Ms. Tabatha Davis, who has asthma, began coughing and had to remove her

glasses because the chemical was getting in her eyes. She also had to remove the face mask



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that she wore to protect herself from COVID-19. She saw that others in the area had to do

the same, exposing them to a heightened risk of contracting the disease. She fled the square,

losing her glasses in the process, and was unable to make it back to the polling station

before it closed at 3:00 p.m. When she returned home, she could still smell the pepper spray

on her clothing.

       110.   Defendants’ intimidating and violent conduct prevented Ms. Davis from

voting at Elm Street on October 31, 2020. She was able to vote in person on November 3,

2020 but did so with the concern about facing crowded polls and longer lines and fearing

she may face similar types of intimidation when she went to cast her vote.

       111.   Plaintiff Future Alamance organized for its members to participate in the

March. At least two members, including Ms. Tabatha Davis, intended to vote that day and

were prevented doing so because of Defendants’ conduct.

       112.   Plaintiff Olivia Davis, who is nineteen years old, participated in the March

with her partner. She was a first-time voter who had intended to vote at the Elm Street

polling place on the day of the March.

       113.   Ms. Olivia Davis was near the stage when officers began to discharge pepper

spray for the second time. As officers began to discharge pepper spray, she suffered

irritation in her eyes and throat.

       114.   Ms. Olivia Davis and her partner began to move away from the officers

standing on the sidewalk and discharging pepper spray, walking into the road and away

from the curb. Defendant Officers John and Jane Does #1-4, employees of GPD,



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approached them and attempted to move them out of the road.

       115.   When Ms. Olivia Davis questioned why the officers were trying to move

them and tried to explain that they were just trying to get away from the pepper spray, the

four officers tackled her and slammed her on the ground.

       116.   Defendant Officers John and Jane Does #1-2 then knelt firmly on Ms. Olivia

Davis’s back, yanking her arms forcefully back to restrain her. Defendant Officers John

and Jane Does #3-4 also continued to forcibly restrain her.

       117.   At no point during the entire interaction was Ms. Olivia Davis violent

towards the officers.

       118.   Ms. Olivia Davis was charged with obstruction and taken into custody.

       119.   As a condition of her release, she was issued an order not to return to the City

of Graham, where the Elm Street early polling place was located, for 72 hours.

       120.   Accordingly, Ms. Olivia Davis was unable to cast her vote on October 31,

2020. She was able to vote in person on November 3, 2020 but feared further police

violence when she went to cast her vote.

       121.   Plaintiff Talaun Woods, who is twenty-one years old, participated in the

March. Mr. Woods attended the March with the intention of registering to vote at the Elm

Street polling place and casting his first-ever ballot that day.

       122.   Mr. Woods was pepper sprayed twice at the March: first, after the memorial

protest in honor of George Floyd, and again after law enforcement shut down the generator

that had been permitted for the event.



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       123.   The pepper spray caused Mr. Woods to suffer from skin irritation, headache,

and vomiting—forcing him to ask a friend to drive him home without his registering to

vote or voting.

       124.   Mr. Woods attempted to vote at his polling place on Election Day but was

turned away because North Carolina’s same-day voter registration period had ended on

October 31, 2020.

       125.   Plaintiff Angela Willis, who is fifty-two years old, participated in the March

to protest police violence.

       126.   She was pepper sprayed twice at the March: first, after the memorial protest

in honor of George Floyd, and again after law enforcement shut down the generator that

had been permitted for the event. The second time, Ms. Willis was pepper sprayed directly

in the face from close range.

       127.   The pepper spray caused immediate irritation, redness, and swelling to her

eyes. Ms. Willis was unable to see. She also began to cough and wheeze as the pepper

spray filled her lungs.

       128.   A stranger began to help Ms. Willis by washing out her eyes; he identified

himself as a paramedic and warned that the officers were preparing to deploy pepper spray

a third time. Ms. Willis decided to leave the rally to avoid further injury.

       129.   Ms. Willis has continued to suffer eye and lung problems. She continues to

suffer from eye irritation and redness, has been told by her doctor that she might have a

scarred cornea, and is seeing a specialist for necessary eye care. She has also been



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prescribed the bronchodilator Albuterol to prevent bronchial spasms.

              3.     Health Risks of Pepper Spray

       130.   Defendants discharged, or approved the discharge of, pepper spray on

protesters on at least three occasions on October 31, 2020, which caused Plaintiffs physical

harm. Oleoresin capsicum, also known as pepper spray, is far from a trivial inconvenience

to those exposed; rather, it poses serious risks of injury—even death.

       131.   As the United States Court of Appeals for the Fourth Circuit has recognized,

“[t]he effects of OC spray include (1) dilation of the capillaries and instant closing of the

eyes through swelling of the eyelids, (2) immediate respiratory inflammation, including

uncontrollable coughing, retching, shortness of breath and gasping for air with a gagging

sensation in the throat, and (3) immediate burning sensations to the mucous membranes,

skin and inside the nose and mouth.” Park v. Shiflett, 250 F.3d 843, 849 (4th Cir. 2001).

       132.   The use of pepper spray during the ongoing COVID-19” pandemic creates

additional risks for those exposed. COVID-19 is spread through respiratory droplets, which

are spread by coughing, sneezing, and talking. 8 In addition to burning of the eyes, nose,

and mouth, exposure to pepper spray can cause increased nasal secretions, immediate

coughing, and sneezing.

       133.   Studies have found that individuals exposed to pepper spray can continue to




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      Coronavirus   Disease     2019    (COVID-19)      Frequently       Asked    Questions,
https://www.cdc.gov/coronavirus/2019-ncov/faq.html#Spread.


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experience significant adverse health consequences up to one month after exposure. 9

       134.    Defendants deployed, or approved the deployment of, pepper spray through

aerosol guns, causing the gas to spread over entire areas. When used in such a manner,

pepper spray cannot be targeted at specific people or even in a discrete direction. It

inherently injures everyone exposed to it.

       135.    Because pepper spray creates respiratory problems, many marchers exposed

to pepper spray at the event could not keep on their masks worn to prevent the spread of

COVID-19. This includes Ms. Tabatha Davis, who had to remove her mask and glasses

after she was sprayed with pepper spray.

       136.    When large groups of people congregate, remove their masks, and cough or

sneeze, the risk of becoming infected with COVID-19 increases.

                                  CAUSES OF ACTION

                              FIRST CAUSE OF ACTION
                          52 U.S.C. § 10307 – Voter Intimidation
       Plaintiffs Tabatha Davis, Olivia Davis, Talaun Woods, and Future Alamance
                                  Against All Defendants

       137.    Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully

set forth in this claim.

       138.    Plaintiffs Tabatha Davis and Olivia Davis, as well as members of Plaintiff

Future Alamance, intended to vote at the Elm Street polling site at the end of the March.



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 Y.G. Karagama, J.R. Newton, & C.J.R. Newbegin. “Short-term and long-term physical effects
of exposure to CS spray.” Journal of The Royal Society of Medicine. J.R. Soc. Med. April 2003.
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC539444/.


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       139.   Plaintiff Talaun Woods intended to register to vote, and then vote, at the Elm

Street polling site at the end of the March.

        140. Defendants Velez and John and Jane Does #1-30 discharged pepper spray,

or failed to intervene to stop the discharge of pepper spray despite being able to, on at least

three separate occasions at Plaintiffs Tabatha Davis, Olivia Davis, Talaun Woods, and

members of Future Alamance, as well as other peaceful marchers who intended to vote at

the end of the March.

        141. By discharging pepper spray, or by failing to intervene to prevent the

discharging of pepper spray, Defendants Velez and John and Jane Does #1-30 intimidated,

threatened or coerced, and/or attempted to intimidate, threaten, or coerce constitutionally

eligible voters by directly interfering with the ability of Plaintiffs Tabatha Davis, Olivia

Davis, Talaun Woods, and Future Alamance members to vote.

        142. Defendants Cole, Velez, and Johnson each approved of at least one of the

three separate occasions on which Defendants Velez and John and Jane Does #1-30 used

or failed to prevent the use of pepper spray.

        143. Defendants’ actions also sent a clear message of intimidation to all those who

wish to celebrate or exercise their right to vote.

        144. Plaintiffs Tabatha Davis, Olivia Davis, and Talaun Woods, as well as

members of Plaintiff Future Alamance, were prevented from voting on October 31, 2020

because of Defendants’ illegal actions.

        145. Ms. Tabatha Davis, Ms. Olivia Davis, and Mr. Talaun Woods were fearful



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of attempting to vote on Election Day and were concerned they might be unable to vote.

        146. Mr. Woods was in fact unable to vote on Election Day because Defendants’

conduct on October 31, 2020 extinguished his final opportunity to register to vote.

                             SECOND CAUSE OF ACTION
                      42 U.S.C. § 1983 – First Amendment Retaliation
                           All Plaintiffs Against All Defendants

       147.    Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully

set forth in this claim.

       148.    At all relevant times, Defendants were acting under color of state law.

       149.    Plaintiffs engaged in constitutionally protected speech and assembly by

participating in a peaceful march to a polling site for the purposes of voting.

       150.    Defendants Velez and John and Jane Does #1-30 either themselves engaged

in use of pepper spray, or were aware of, had a reasonable opportunity to prevent, and

failed to prevent other officers’ use of pepper spray, causing injuries to Plaintiffs.

       151.    Defendants Cole and Velez approved of and ratified the conduct of

Defendants John and Jane Does #1-15 and other GPD officers who used pepper spray on

Plaintiffs.

       152.    Defendant Johnson approved of and ratified the conduct of Defendants John

and Jane Does #16-30 and other ACSO deputy sheriffs who used pepper spray on Plaintiffs.

       153.    Defendants Cole and Velez are final policymakers within the City of Graham

for all matters related to GPD. Their decisions regarding GPD, including all officers

thereof, constitute the official policies of Defendant City of Graham.



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       154.   Defendant Johnson is a final policymaker within Alamance County for all

matters related to ACSO. His decisions regarding ACSO, including all deputies thereof,

constitute the official policies of Defendant Alamance County.

       155.   Defendants’ conduct would likely deter a person of ordinary firmness from

participating in further marches for fear of being subject to similar force and has, in fact,

actually deterred at least some Plaintiffs from participating in further demonstrations.

       156.   At least three Plaintiffs, Plaintiffs Dejuana Bigelow, Tabatha Davis, and

Talaun Woods, have not attended other demonstrations out of fear of further police

violence.

       157.   Defendants have not used, or authorized use of, pepper spray on protesters

who were demonstrating in support of maintaining Confederate monuments, even when

those protesters demonstrated in the same area of Graham as Plaintiffs and even when those

protesters demonstrated with weapons.

       158.   Defendants engaged in their use of pepper spray just minutes after Plaintiffs

and other peaceful marchers kneeled to commemorate George Floyd, a Black man who

was killed by police officers.

       159.   Defendants engaged in their use of pepper spray only after warning groups

of neo-confederate or white supremacist counter-demonstrators that force would be used,

without providing such a warning to Plaintiffs and others marching in support of police

reform and the right to vote.




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       160.    Defendants’ conduct was motivated at least in part by the subject matter of

Plaintiffs’ March—protesting police violence.

       161.    As a direct and proximate result of Defendants’ conduct, Plaintiffs have

sustained the injuries detailed above.

       162.    Defendants’ conduct was willful, wanton, and undertaken with a reckless or

callous indifference to the federally protected rights of Plaintiffs.

                              THIRD CAUSE OF ACTION
                  42 U.S.C. § 1983 – Fourth Amendment/Excessive Force
                           All Plaintiffs Against All Defendants

       163.    Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully

set forth in this claim.

       164.    At all relevant times, Defendants acted under color of state law.

       165.    At all relevant times, Plaintiffs were peacefully marching to a poll site and

did not disobey or refuse any police order.

       166.    At no point did any Plaintiff pose any risk of injury or harm to themselves,

other people, or property.

       167.    Defendants Velez and John and Jane Does #1-30 nonetheless repeatedly used

pepper spray on Plaintiffs, or were aware of, had a reasonable opportunity to prevent, and

failed to prevent other officers’ use of pepper spray on Plaintiffs.

       168.    By using pepper spray on Plaintiffs without justification or failing to

intervene to prevent the unjustified use of pepper spray by other officers, Defendants Velez

and John and Jane Does #1-30 subjected Plaintiffs to excessive force.



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       169.   By tackling Ms. Olivia Davis, kneeling on her back, and forcefully pulling

her arms behind her without justification, Defendant Officers John and Jane Does #1-4

subjected her to excessive force.

       170.   Defendant Cole has, through her spokesperson, defended GPD’s conduct,

including the conduct of Defendant Officers John and Jane Does #1-15, and has blamed

voters for the violence.

       171.   Defendants Cole and Velez have failed to investigate or discipline any GPD

officers, including Defendants Officers John and Jane Does #1-15, for using pepper spray

on peaceful voters.

       172.   Defendants Cole and Velez approved of and ratified the conduct of

Defendant Officers John and Jane Does #1-15 and other GPD officers who used pepper

spray on Plaintiffs.

       173.   Upon information and belief, Defendant Johnson received notice after the

first time pepper spray was used on peaceful protesters.

       174.   Upon information and belief, the operational plan Defendant Johnson

developed after learning of the first use of pepper spray authorized deputies, including

Defendant Officers John and Jane Does #16-30, to use pepper spray again.

       175.   Defendant Johnson has failed to investigate or discipline any ACSO deputies,

including Defendants Officers John and Jane Does #16-30, for using pepper spray on

peaceful voters.




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       176.    Defendant Johnson approved of and ratified the conduct of Defendant

Officers John and Jane Does #16-30 and other ACSO deputy sheriffs who used pepper

spray on Plaintiffs.

       177.    Defendant Johnson is a final policymaker within Alamance County for all

matters related to ACSO. His decisions regarding ACSO, including all deputies thereof,

constitute the official policies of Defendant Alamance County.

       178.    Defendants Cole and Velez are final policymakers within the City of Graham

for all matters related to GPD. Their decisions regarding GPD, including all officers

thereof, constitute the official policies of Defendant City of Graham.

       179.    As a direct and proximate result of Defendants’ conduct, Plaintiffs have

sustained the injuries detailed above.

       180.    Defendants’ conduct was willful, wanton, and undertaken with a reckless or

callous indifference to the federally protected rights of Plaintiffs.

                            FOURTH CAUSE OF ACTION
                 42 U.S.C. § 1985(3) – Conspiracy to Deprive Civil Rights
                           All Plaintiffs Against All Defendants

       181.    Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully

set forth in this claim.

       182.    Defendants conspired to prevent eligible voters, by force, intimidation, and

threat, from exercising their right to vote.

       183.    GPD and ACSO officers, including Defendants Velez and John and Jane

Does #1-30, communicated with each other to form a joint strategy to disperse March



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attendees from the street and the stage.

       184.   Upon information and belief, Defendant Johnson formed an organizational

plan for Defendants John and Jane Does #16-30 that authorized the use of pepper spray on

peaceful marchers, including Plaintiffs.

       185.   Defendants decided to engage in the use of pepper spray as detailed above at

least in part due to the race of the March attendees, the majority of whom were Black.

       186.   Upon information and belief, Defendants have not used, or authorized use

of, pepper spray on protesters, the vast majority of whom are white, who were

demonstrating in support of maintaining Confederate monuments, even when those

protesters demonstrated in the same area of Graham as Plaintiffs and even when those

protesters demonstrated with weapons.

       187.   Defendants violated 42 U.S.C. § 1985(3) by knowingly conspiring with each

other to forcefully interrupt a peaceful protest by unlawfully discharging pepper spray.

       188.   Defendants violated 42 U.S.C. § 1985(3) by conspiring to prevent by force,

intimidation, or threat, citizens from exercising their constitutional right to vote.

       189.   Defendants’ unlawful discharging of pepper spray on three separate

occasions, their communications with each other, and Defendant Johnson’s formation of

an organizational plan to authorize further pepper spray usage all constituted substantial

steps in furtherance of the conspiracy.

       190.   Defendants knew or should have known that at the time of their unlawful

discharging of pepper spray that such acts would prevent or deter constitutionally eligible



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voters from exercising their right to vote in upcoming elections.

       191.    After Defendants deployed tear gas following the remembrance of George

Floyd, a number of marchers were injured and forced to leave.

       192.    Defendants knew discharging pepper spray a second time would have the

same consequence of forcing marchers to flee the area and prevent them from exercising

their constitutional rights. Defendants also knew that discharging pepper spray a third time

would have the same consequence.

       193.    Defendants’ conduct intimidated or attempted to intimidate voters and

prevented certain Plaintiffs from voting and/or registering to vote.

       194.    Defendants’ conduct was willful, wanton, and undertaken with a reckless or

callous indifference to the federally protected rights of Plaintiffs.

                             FIFTH CAUSE OF ACTION
                                   Assault and Battery
 All Plaintiffs Against Defendants Velez, John and Jane Does #1-30, Alamance County,
                                   and City of Graham

       195.    Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully

set forth in this claim.

       196.    By using pepper spray on Plaintiffs without justification, Defendants Velez

and John and Jane Does #1-30 intentionally caused bodily contact with Plaintiffs to which

Plaintiffs did not consent.

       197.    By forcefully arresting Ms. Olivia Davis without justification, Defendant

Officers John and Jane Does #1-4 intentionally caused bodily contact with Ms. Davis to

which she did not consent.


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         198.   Defendant Alamance County, as the employer of Defendants John and Jane

Does #16-30, is responsible for their tortious conduct under the doctrine of respondeat

superior.

         199.   Defendant City of Graham, as the employer of Defendants Velez and John

and Jane Does #1-15, is responsible for their tortious conduct under the doctrine of

respondeat superior.

         200.   As a direct and proximate result of Defendants’ conduct, Plaintiffs were

offended to a reasonable degree of personal dignity and sustained the injuries detailed

above.

                               SIXTH CAUSE OF ACTION:
      N.C. Const. Art. I, Sec. 12 & 14 – Freedom of Speech and Freedom of Assembly
       All Plaintiffs Against Defendants Velez and John and Jane Does #1-30 in their
                                     Official Capacities

         201.   Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully

set forth in this claim.

         202.   The North Carolina Constitution also ensures that “[f]reedom of speech and

of the press are two of the great bulwarks of liberty and therefore shall never be restrained”

N.C. Const. Art. I, § 14.

         203.   The North Carolina Constitution also provides that “[t]he people have a right

to assemble together to consult for their common good, to instruct their representatives,

and to apply to the General Assembly for redress of grievances.” N.C. Const. Art. I, § 12.

         204.   Plaintiffs were engaging in expressive, political speech protected by the

North Carolina Constitution on October 31 when they gathered together to participate in

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     Case 1:20-cv-00997-CCE-LPA Document 24 Filed 12/11/20 Page 37 of 41
the March, a peaceful protest encouraging residents to exercise their right to vote.

       205.   Defendants Velez and John and Jane Does #1-30, while acting in their

official capacities, discharged pepper spray at Plaintiffs without justification, or failed to

intervene to prevent the use of pepper spray on Plaintiffs despite having a reasonable

opportunity to do so.

       206.   The use of pepper spray on a person constitutes an adverse action.

       207.   Defendants Velez and John and Jane Does #1-30 were motivated at least in

part by the protected conduct of March attendees in peacefully protesting.

       208.   Defendants Velez and John and Jane Does #1-30, through their use or

condonation of violent force on October 31, unreasonably restricted Plaintiffs’ speech and

assembly rights by forcing Plaintiffs to flee and discontinue their peaceful protest. These

actions directly interfered with Plaintiffs’ free speech rights in violation of the North

Carolina Declaration of Rights. Defendants Velez and John and Jane Does #1-30 prevented

all Plaintiffs from participating in peaceful protest, and also prevented Ms. Tabatha Davis,

Ms. Olivia Davis, and Mr. Woods from casting a vote that day.

       209.   The actions of Defendants Velez and John and Jane Does #1-30 had a chilling

effect on speech in the community. Their decision to use state-sanctioned violent force in

retaliation to residents peacefully engaging in protected speech sent a clear message that

law enforcement in Alamance County may use similar force against any resident who

chooses to voice an opinion through peaceful protest or voting. The officers’ actions may

deter other residents from exercising their free speech rights in the future.



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                               PRAYER FOR RELIEF

WHEREFORE, Plaintiffs request that this Court:

         a. Declare that Defendants’ intimidating conduct—including discharging

            pepper spray at peaceful protesters on their way to vote—is contrary to law;

         b. Declare that the harassment or intimidation of voters at or outside of the polls

            or on their way to the polls during the 2020 general election is contrary to

            law;

         c. Declare that Defendants’ conduct has violated both the Constitution of the

            United States and the North Carolina Constitution;

         d. Award damages sufficient to compensate Plaintiffs for their injuries;

         e. Award punitive damages to Plaintiffs against Defendants Cole, Velez,

            Johnson, and John and Jane Does #1-30;

         f. Award attorney’s fees and costs associated with this litigation; and

         g. Grant such other relief as this Court may deem proper.




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Dated: December 11, 2020

                                            Respectfully submitted,


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* Appearing pursuant to Local Rule 83.1(d).
** Application for appearance pursuant to Local Rule 83.1(d) forthcoming.




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                              CERTIFICATE OF SERVICE

       I, Geraldine Sumter, hereby certify that on the 11th day of December, 2020, a true and
correct copy of the foregoing was filed on the Court’s CM/ECF filing system, through which
service was effected upon Defendants City of Graham, Kristy Cole, Alamance County, and Terry
S. Johnson through their counsel. Counsel for City of Graham has agreed to accept service for
City of Graham employee Joaquin Velez.


                                                     /s/ Geraldine Sumter
                                                     Geraldine Sumter




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